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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

   AMERITAS LIFE INSURANCE CORP., :
                                  :
             Plaintiff,           :
                                  :
       v.                         : C.A. No. 1:23-cv-00236 (GBW)
                                  :
   WILMINGTON SAVINGS FUND        :
   SOCIETY, FSB, SOLELY AS        :
   SECURITIES INTERMEDIARY,       :
                                  :
             Defendant.
                                  :

  STIPULATION AND [PROPOSED] ORDER REGARDING FORMAT AND
         LENGTH OF BRIEFS FOR DISPOSITIVE MOTIONS
        WHEREAS, Plaintiff filed dispositive motions on February 28, 2025 (D.I.

  213; D.I. 218).

        WHEREAS, Plaintiff filed its supporting briefs, fact statements, and several

  exhibits provisionally under seal because they contain (or describe) information

  designated “Confidential” under the Agreed Protective Order (D.I. 18).

        WHEREAS, the Court’s Scheduling Order (D.I. 17 ¶ 7) and the Revised

  Administrative Procedures Governing Filing and Service by Electronic Means (§

  G(1)) provide that redacted versions of such filings must be filed within seven days.

        WHEREAS, on March 6, 2025, the parties stipulated to extend Plaintiff’s

  deadline in this regard to March 21, 2025, and, on March 10, 2025, this Court entered

  an Order granting that stipulation.
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        WHEREAS, Defendant, in its forthcoming oppositions to Plaintiff’s

  dispositive motions, and Plaintiff, in its forthcoming replies, anticipate significant

  reference to materials that are designated confidential, and thus both parties

  anticipate filing additional materials provisionally under seal.

        WHEREAS, given the volume of materials designated confidential, and the

  desire to confer regarding which materials should be maintained under seal, the

  parties agree good cause exists to set a combined deadline for all parties to file their

  respective public versions of summary judgment materials (i.e., opening materials,

  answering materials, and reply materials), thirty (30) days from the close of briefing.

        IT IS HEREBY STIPULATED AND AGREED, by the parties hereto,

  through their undersigned counsel, and subject to the approval of the Court, that both

  parties shall file public versions of their opening, answering, and reply materials

  regarding Plaintiff’s dispositive motions (D.I. 213; D.I. 218) no later than thirty (30)

  days after reply briefs are submitted.




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                                           Attorneys for Defendant Wilmington
                                           Savings Fund Society, FSB, solely as
                                           Securities Intermediary
  Dated: March 21, 2025


              SO ORDERED this ________ day of ________, 2025


                                   ____________________________
                                   The Honorable Gregory B. Williams

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